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 4
     Attorney for Defendant
 5   ANTONIO SHANNON
 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                       SACRAMENTO DIVISION
11

12   UNITED STATES OF AMERICA,                         )   Case No. CR.S 03 039 WBS
                                                       )
13                               Plaintiff,            )
                                                       )
14          vs.                                        )   STIPULATION AND ORDER
                                                       )   RESCHEDULING SENTENCING
15                                                     )   HEARING
                                                       )
16   ANTONIO SHANNON,                                  )
                                                       )
17                               Defendant.            )
                                                       )
18

19           It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
20
     AMERICA, through its counsel of record, Ellen V. Endrizzi, Assistant United States Attorney,
21
     and defendant, ANTONIO SHANNON, through his counsel of record, Joseph J. Wiseman, that
22

23
     the sentencing hearing scheduled for October 26, 2005, at 9:00 a.m., be rescheduled to

24   November 9, 2005, at 9:00 a.m., in order to give the parties additional time to prepare for the
25   hearing.
26
             The parties further stipulate and agree that defendant’s Formal Objections/Sentencing
27
     Memorandum, if any, shall be filed no later than October 26, 2005, and plaintiff’s response
28


                                                        1
     _________________________________________________________________________________________________
     STIPULATION AND ORDER                                                                  CR. S-03 039 WBS
       Case 2:03-cr-00039-WBS Document 97 Filed 10/21/05 Page 2 of 2


 1   thereto shall be filed no later than November 2, 2005.
 2
     Dated: October 20, 2005                 Respectfully submitted,
 3
                                             JOSEPH J. WISEMAN, P.C.
 4

 5                                           By: __/s/ Joseph J. Wiseman__
 6
                                                    JOSEPH J. WISEMAN
                                                    Attorney for Defendant
 7                                                  ANTONIO SHANNON
 8

 9
     Dated: October 20, 2005                 McGREGOR W. SCOTT
                                             United States Attorney
10

11                                           By: ____/s/ Ellen V. Endrizzi_____
12                                                  ELLEN V. ENDRIZZI, AUSA
                                                    Attorney for Plaintiff
13                                                  UNITED STATES OF AMERICA
14

15

16
             Pursuant to the stipulation of the parties, and for GOOD CAUSE HAVING BEEN
17

18   SHOWN, IT IS HEREBY ORDERED THAT the sentencing hearing in the above-captioned case

19   is continued to November 9, 2005 at 9:00 a.m. IT IS FURTHER ORDERED THAT defendant’s
20
     Formal Objections/Sentencing Memorandum, if any, shall be filed no later than October 26,
21
     2005, and plaintiff’s response thereto shall be filed no later than November 2, 2005.
22

23
             Dated: October 21, 2005

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     _________________________________________________________________________________________________
     STIPULATION AND ORDER                                                                  CR. S-03 039 WBS
